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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 JOHN DOE,                                            Civil No. 16-1127 (JRT/DTS)

                   Plaintiff,                         AMENDED STIPULATED
                                                       PROTECTIVE ORDER
        v.

 UNIVERSITY OF ST. THOMAS,

                   Defendant.


       Beau D. McGraw, MCGRAW LAW FIRM, PA, 10390 39th Street North,
       Lake Elmo, MN 55042, for plaintiff.

       David A. Schooler, Ellen A. Brinkman, Maren F. Grier, BRIGGS &
       MORGAN, PA, 80 South Eighth Street, Suite 2200, Minneapolis, MN
       55402, for defendant.

       IT IS HEREBY stipulated and agreed by and between Plaintiff John Doe (“Doe”)

and Defendant University of St. Thomas, (“UST” or the “University”) (individually, a

“Party” and collectively, the “Parties”), who are seeking to protect the confidentiality of

testimony given and discovery material produced in the above-captioned matter, that the

terms and conditions of this Stipulated Confidentiality Agreement and Protective Order

shall apply as set forth below.

       Accordingly, IT IS HEREBY ORDERED:

       1.     This Stipulated Protective Order (“Order”) shall apply to all documents,

records, tangible materials, testimony, responses to discovery, pleadings, motions,

memoranda, exhibits and other information produced, served, disclosed or filed in this

action from the inception of the case until its conclusion, including all appeals, as further
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defined in paragraph 22. The Parties have reserved the right to enter into a further

stipulation thereafter or to seek different treatment of Confidential Information or Student

Information by motion as set forth in paragraph 23. Material designated as “Confidential”

shall remain “Confidential” thereafter and material designated as “Student Information”

shall remain “Student Information” thereafter. The Parties agree that the Court shall retain

continuing jurisdiction during the balance of this action and after its conclusion to enforce

this Order.

       2.     As used in this Order, these terms have the following meanings:

              (a)    “Attorneys” means outside counsel of record in the above-captioned
                     case, or any other attorneys employed by counsel of record’s law firm;

              (b)    “Confidential Information” means any material or information that a
                     Party or third party believes in good faith to contain confidential
                     commercial, or private information; and

              (c)    “Student Information” means personal identifying information of any
                     student of the University of St. Thomas or any information maintained
                     by the University of St. Thomas that meets the definition of an
                     “education record” under the Family Educational Rights and Privacy
                     Act (“FERPA”), 20 U.S.C. § 1232g, 34 C.F.R. § 99.1 et. seq.

              (d)    “Exhibit A” means the Declaration of ___________ Under Stipulated
                     Confidentiality Agreement and Protective Order, to be signed by
                     individuals given access to Confidential Information.

       3.     Any Party may designate as “Confidential” any exhibits, papers, information

both in hard copy and electronic form, tangible items and/or objects, representations of

facts, discovery material (including answers to interrogatories, responses to requests for

production, responses to requests for admissions and documents produced and any

information provided by third parties) and sworn testimony (including affidavits and

depositions), or any portion thereof, produced or given in this action that the Party contends

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in good faith contains or reflects Confidential Information. Any Party may designate as

“Student Information” any exhibits, papers, information both in hard copy and electronic

form, tangible items and/or objects, representations of facts, discovery material (including

answers to interrogatories, responses to requests for production, responses to requests for

admissions and documents produced and any information provided by third parties) and

sworn testimony (including affidavits and depositions), or any portion thereof, produced

or given in this action that contains “Student Information.”

       4.     A Party that has previously produced information to another party in

connection with this action, whether voluntarily or in response to a discovery request, may

designate such information as “Confidential” or as “Student Information.” Such

designation shall be made within fourteen days of the entry of this Order, and in the

meantime, Parties shall treat all material as designated “Confidential” or “Student

Information.” The previous disclosure of materials not previously designated as

“Confidential” or “Student Information” shall not be actionable, provided that no

additional disclosure of those materials occurs in violation of this Order.

       5.     When producing discovery material designated as “Confidential” or “Student

Information,” the producing party shall mark the face of the document or thing to indicate

its confidential nature and production pursuant to this Order. The document or thing can

be replaced by an unmarked copy, if appropriate, for use at trial, without waiving the rights

and obligations under this Order.

       6.     When giving pretrial or court testimony designated as “Confidential” or

“Student Information,” the testifying witness (or any counsel) may announce on the record


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at the beginning and end of such testimony to indicate its confidential nature pursuant to

this Order. Alternatively, the testifying witness (or any counsel) may designate the

beginning and end of the confidential testimony on the errata sheet or by any other written

notification within thirty days after receipt of a copy of the transcript from the court

reporter. After that thirty-day period has expired, only the testimony that has been

designated as provided above shall be deemed “Confidential” or “Student Information”

and shall not be disclosed to any third-party or nonparty. The reporter shall bind the

“Confidential” testimony and information designated as “Student Information” in separate

volumes and mark the face of the transcript to indicate its confidential nature and

production pursuant to this Order.

       7.     If a party files documents containing Confidential Information with the

Court, such filings shall be in compliance with the Electronic Case Filing Procedures for

the District of Minnesota and the Court’s governing pretrial scheduling order addressing

the filing, service, and delivery of “Confidential” materials on a party opponent and the

Court. The parties understand that designation by a party, including a third party, of a

document as “Confidential” pursuant to this Protective Order cannot be used as the sole

basis for filing the document under seal in connection with a nondispositive, dispositive or

trial-related motion. The parties understand that designation by a party, including a third

party, of information as “Student Information” pursuant to this Protective Order requires

filing the document under seal in connection with a nondispositive, dispositive or trial-

related motion. Only those documents and portions of a party’s submission (including those

portions of affidavits, exhibits and memorandum of law) which otherwise meet the


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requirements of protection from public filing (e.g. a statute, rule or regulation prohibits

their disclosure; they are protected under the attorney-client privilege or work product

doctrine; they meet the standards for protection articulated in F.R.C.P. Rule 26(c)(1)(G);

or they contain Student Information) shall be filed under seal. The Party seeking to file

under seal shall contemporaneously file a redacted version of any sealed documents. If the

party submitting a document produced and designated as “Confidential” by another party

in support or opposition to a motion believes that any such document should not be filed

under seal, then sufficiently in advance of the submission, the party shall request the party

designating the document as “Confidential” to permit the document to be publically filed,

and the designating party shall respond to the request within five business days of the

request (a) by indicating whether the designating party agrees or objects to the public filing

of the document, and (b) for any objection, by explaining why the document meets the

requirements of protection from public filing. If the party designating the document as

“Confidential” objects to the public filing of any document, then the document shall be

filed under seal, and at the same time as it is filed, the party filing the document under seal

must notify in writing the party who designated the document as “Confidential” and the

Court hearing the motion for which the sealed document is being submitted of the dispute

regarding the filing of the document under seal, and at the hearing these parties shall

address with the Court whether the document should or should not remain sealed. The party

asserting that the document should be filed under seal shall have the burden of proving that

the document shall remain under seal.




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        8.      When filing such material or testimony under seal, the filing Party shall

ensure that it is sealed in an envelope or other container which, on its face, contains the

caption of the case, the identity of the Party filing the material, the statement

“CONFIDENTIAL-FILED             UNDER        SEAL”      or    “CONFIDENTIAL-STUDENT

INFORMATION-FILED UNDER SEAL” and a statement substantially in the following

form:

        THIS ENVELOPE CONTAINS DISCOVERY MATERIAL OR TESTIMONY SUBJECT TO

        A    STIPULATED CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER

        ENTERED IN    16-cv-01127 (ADM/KMM). IT IS NOT TO BE OPENED NOR THE

        CONTENTS THEREOF DISPLAYED, REVEALED OR MADE PUBLIC, EXCEPT BY

        WRITTEN ORDER OF THE COURT.

        9.      “Confidential” and “Student Information” material produced or testimony

given in the action shall be held in confidence and shall not be used, reproduced,

distributed, transmitted, disclosed, transferred, reverse engineered, decompiled or

disassembled, directly or indirectly, in any form, by any means, or for any purpose other

than to assist counsel of record in the prosecution, defense, or settlement of this action.

        10.     Material or testimony designated as “Confidential” or “Student Information”

shall not be made available or disclosed other than to the following:

                (a)   the Parties, including employees and former employees of the Parties;

                (b)   Attorneys, limited to any attorney of a law firm designated as
                      attorneys of record, as well as paralegals, secretaries, and clerical staff
                      working with such attorneys, and contractors providing services to
                      such attorneys, such as copying services;



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              (c)      in-house attorneys for any Party;

              (d)      independent (i.e., non-employee) persons retained by a Party or its
                       attorney solely for the purpose of assisting counsel of record in the
                       prosecution, defense or settlement of this action, such as independent
                       experts, mock jurors, focus groups or consultants, but only in
                       accordance with the provisions of paragraph 11 hereof;

              (e)      the Court, the Court’s staff attorney(s), and judicial assistants of the
                       Court;

              (f)      court reporters and videographers;

              (g)      a person who authored or received the document; and,

              (h)      any other person designated by written agreement between the Parties
                       or by subsequent order of this Court after reasonable notice to all
                       Parties.

       11.    In no event shall any material or testimony designated as “Confidential” or

“Student Information” be disclosed to any person pursuant to paragraphs 10(d), 10(h), of

this Order until that person has executed a written, dated declaration in the form attached

as EXHIBIT A. The Parties warrant that they will obtain declarations for all such persons

prior to disclosure.

       12.    Inadvertent failure to designate information as “Confidential” does not,

standing alone, waive the designating Party’s right to secure protection under this Order

for such material. If material is designated as “Confidential” after the material is initially

produced, the Party receiving the material, on timely notification of the designation, must

make reasonable efforts to assure that the material is treated in accordance with the

provisions of this Order.

       13.    If a Party receiving protected materials learns that, by inadvertence or

otherwise, it has disclosed protected material to any person or in any circumstance not


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authorized under this Order, then the receiving Party must immediately: (a) notify in

writing the designating Party of the unauthorized disclosures; (b) use its best efforts to

retrieve all copies of the protected materials; and (c) inform the person or persons to whom

unauthorized disclosures were made of all the terms of this Order.

       14.    Nothing in this Order shall require disclosure of any document that a Party

contends is protected from disclosure by the attorney-client privilege, joint defense

privilege work-product doctrine, or any other legally recognized privilege (“Privileged

Document”). The inadvertent production of any Privileged Document shall be without

prejudice to any claim that such material is privileged under the attorney-client privilege,

joint defense privilege, work-product doctrine or any other legally recognized privilege,

and no Party shall be held to have waived any rights by such inadvertent production.

       15.    In the event that any inadvertent disclosure of information is made, such

disclosure is made without intent to waive: (a) any applicable privilege, including but not

limited to the attorney-client privilege or joint defense privilege or (b) any protection,

including but not limited to the attorney work product doctrine. Upon request by the

inadvertently producing Party, the receiving Party shall:

              (a)    within fourteen calendar days of receiving notice of the inadvertent
                     production, destroy, sequester or return the original and all copies of
                     such documents and any notes or materials derived from such
                     documents; and

              (b)    shall not use such information for any purpose unless allowed by
                     Order of the Court; provided, however, that the receiving Party may
                     retain and use an inadvertently-produced Privileged Document solely
                     in connection with a prompt, good faith challenge to the protection
                     claimed for such document. Any such challenge must be filed with the



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                     Court within fourteen days of receipt of the notice of inadvertent
                     production.

       16.    Except as provided below, witnesses at depositions taken during this action

may be shown any “Confidential” material during the course of their deposition and a

Party’s ability to use, exhibit, or disclose such “Confidential” material at depositions taken

in this action shall not be limited; provided, however, that before the witness may be shown

“Confidential” or material that was produced by a Party other than the witness or his or her

employer, the witness shall first sign a declaration in the form of EXHIBIT A if the witness

has not already done so. If the witness does not sign a declaration in the form of EXHIBIT

A, then the witness may not be shown “Confidential” material. Such use at a deposition

will not be deemed a waiver of the provisions of this Order. Witnesses may not be shown

any “Student Information” unless: (1) the deponent or witness is the subject of the Student

Information; (2) the subject of the Student Information has given advance authorization in

writing; (3) the deponent or witness is a non-student employee of the University of St.

Thomas; or (4) the witness may be shown Student Information in accordance with

Paragraph 10. Before a witness may be shown “Student Information”, the witness shall

first sign a declaration in the form of EXHIBIT A if the witness has not already done so.

       17.    Whenever “Confidential” discovery material or testimony is to be discussed

or disclosed in a deposition, any Party which produced the “Confidential” material or gave

the “Confidential” testimony may require the exclusion from the room of any person who

is not entitled to have access to the “Confidential” material or testimony under this Order.

Whenever “Student Information” discovery material or testimony is to be discussed or



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disclosed in a deposition, any person who is not entitled to have access to the “Student

Information” under this Order shall be excluded from the room, unless the subject of the

Student Information has authorized their presence in writing.

       18.    In the event that counsel for a Party identifies, discusses, or discloses any

“Confidential” material or testimony during the course of pre-trial or trial proceedings,

counsel for the producing Party may at that time, or after such identification, discussion,

or disclosure, request that such materials or testimony be filed under seal with this Court

and be subject to the terms of this Order.

       19.    Nothing shall prevent disclosure beyond the terms of this Order if the Party

designating the material or testimony as “Confidential” consents in writing to such

disclosure or if this Court, after notice to all affected parties, orders such disclosure.

       20.    A Party shall not be obligated to challenge the propriety of a designation by

another party of material or testimony as “Confidential” at the time such designation is

made, and a failure to make any such challenge shall not preclude a subsequent challenge

by such Party to such designation. Any Party may move the Court, upon written notice via

facsimile and overnight mail to counsel of record for the other Parties to this Order, to

remove the designation of “Confidential” with respect to any specified document,

testimony, or any other thing, or any portion thereof. Except as provided herein, the Party

making the designation that a document, testimony or other thing is “Confidential” shall

have the burden of proving the propriety of such designation.

       21.    Nothing herein shall be construed as a waiver of the right of any Party to

object to the admissibility of any evidence where such objection is based on a ground or


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grounds other than that the evidence involves “Confidential” material or testimony or

“Student Information,” and nothing herein shall be construed as an agreement that any

“Confidential” material, “Student Information” or testimony shall be withheld from or

excluded from evidence in this action.

       22.    Within ninety days after the final conclusion of this action (including all

appeals, if any), any “Confidential” or “Student Information” discovery material, papers,

documents, things, testimony, and all extracts, summaries and reproductions thereof, shall

be delivered to the producing Party or destroyed, provided that work product of counsel

containing or reflecting confidential material may be retained or destroyed at the option of

that counsel. A Party choosing to destroy documents designated as “Confidential” or

“Student Information” shall certify such destruction in writing to the producing Party.

Insofar as the provisions of this Order or any protective order entered in this action restrict

communication about and use of the material produced and testimony given thereunder,

this Order and any such order shall continue to be binding after the conclusion of the action,

except that a Party may seek the written permission of the producing Party or further order

of the Court with respect to dissolution or modification of this or any other protective order.

       23.    Nothing in this Order precludes any Party from seeking the entry of a

separate confidentiality order or protective order by the Court, or from seeking to modify

this Order with regard to any “Confidential” or “Student Information” material or

testimony produced or given in this action or with regard to any other matter.

       24.    A third party subject to a discovery or trial subpoena issued by a Party in this

case shall have the right to make the designations provided by this Order. If such third party


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elects to make such designations, and designates the materials in accordance with this

Order, any information so designated shall be subject to the same restrictions as

information designated by a Party to this action. Further, if a Party’s information is

disclosed by a third party, then the Party shall have fourteen days after disclosure by the

third party to designate such information in accordance with this Order.

       25.    If any person receiving documents covered by this Order: (a) is subpoenaed

in another action or proceeding, (b) is served with a demand in another action or proceeding

to which the person or entity is a party or is otherwise involved, or (c) is served with any

other process by one not a party to this litigation, which seeks material designated as

“Confidential” material or “Student Information” by someone other than the receiving

party, then the receiving party shall give actual written notice, by hand or facsimile

transmission within five business days of receipt of such subpoena, demand or process, to

those who designated the material “Confidential” or “Student Information.” The receiving

party shall not produce any of the “Confidential” material or “Student Information” for a

period of at least fourteen days, (the “Response Period”), after providing the required notice

to the designating party. If, within the Response Period, the designating party gives notice

to the receiving party that the designating party opposes production, the receiving party

shall not thereafter produce such information except pursuant to a court order requiring

compliance with the subpoena, demand or other process. The designating party shall be

solely responsible for asserting any objection to the requested production. Nothing herein

shall be construed as requiring the receiving party or anyone else covered by this Order to

appeal any order requiring production of “Confidential” material or “Student Information”


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covered by this Order, or to subject himself or itself to any penalties for non-compliance

with any legal process order or to seek any relief from the Court.

       26.    Nothing in this Order shall be deemed an acknowledgement by any Party that

discovery of “Confidential” material or “Student Information” is reasonably likely to lead

to the discovery of admissible evidence in this action, or an acknowledgment that particular

discovery requests are not burdensome or overbroad or otherwise objectionable.

       27.    Notwithstanding the other provisions of this Order, information designated

as “Confidential” or “Student Information” may be discussed publicly at either a court

hearing or trial so long as the personal identifying information of any student of the

University of St. Thomas is not disclosed. As used herein, personal identifying information

means (a) the identities of any current or former students of the University of St. Thomas

and (b) any information that could lead to the identification of any current or former

students of the University of St. Thomas.


Dated: November 13, 2018                         ___s/John R. Tunheim____
at Minneapolis, Minnesota                            JOHN R. TUNHEIM
                                                         Chief Judge
                                                 United States District Court




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                                       EXHIBIT A

DECLARATION      OF      __________________________________UNDER
STIPULATED PROTECTIVE ORDER AGAINST UNAUTHORIZED USE OR
DISCLOSURE OF CONFIDENTIAL AND STUDENT INFORMATION


       I, ________________________________________________, declare as follows:

       1.     My address is _____________________________________________.

       2.     My present employer is ______________________________________.

       3.     My present occupation or job description is _______________________.

       4.     I hereby acknowledge that I may receive information designated as

“CONFIDENTIAL” or “STUDENT INFORMATION” under the Stipulated Protective

Order, dated _____________, 2016, in Doe v. University of St. Thomas, Minnesota, Civ.

No. 16-cv-01127 (ADM/KMM), in the United States District Court for the District of

Minnesota (the “Order”), and I certify my understanding that such information is

confidential and is provided to me pursuant to the terms and restrictions of the Order.

       5.     I further state that I have been given a copy of and have read the Order, that

I am familiar with the terms of the Order, that I agree to comply with and to be bound by

each of the terms thereof, and that I agree to hold in confidence any information disclosed

to me pursuant to the terms of the Order.

       6.     To assure my compliance with the Order, I hereby submit myself to the

jurisdiction of this Court for the limited purpose of any proceedings relating to the

performance under, compliance with or violation of this Order.
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       7.     I understand that I am to retain all of the materials that I receive which have

been designated as “CONFIDENTIAL” or “STUDENT INFORMATION” in a container,

cabinet, drawer, room, or other safe place in a manner consistent with this Order; that all

such materials are to remain in my custody until I have completed my assigned duties,

whereupon they are to be returned to the party who provided them to me or destroyed, as

provided by the Order; and that any materials, memoranda, work notes, or other documents

derived from documents or testimony designated as “CONFIDENTIAL” or “STUDENT

INFORMATION” containing any information contained therein are to be returned to the

party who provided them to me or destroyed, as provided by the Order. Such delivery or

destruction shall not relieve me from any of the continuing obligations imposed upon me

by the Order. I further agree to notify any stenographic or clerical personnel who are

required to assist me of the terms of the Order.

       I declare under penalty of perjury and under the laws of the State of Minnesota that

the foregoing is true and correct.

                                              Name:

                                              Signature:

                                              Date: _______________________________




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